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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

      Plaintiff,
                                               CASE NO:
vs.

DALESSANDRO ENTERPRISES, LLC,

     Defendant.
__________________________________/

                                   COMPLAINT

      Plaintiff, D’WANNA WILLIAMS (“Plaintiff”) by and through the

undersigned counsel, hereby files this Complaint and sues DALENSSANDRO

ENTERPRISES, LLC, for injunctive relief, attorney’s fees and costs pursuant to 42

U.S.C. §12181 et seq., (“Americans with Disabilities Act” or “ADA”) and alleges:

                         JURISDICTION AND PARTIES

      1.      This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter

referred to as the “ADA”). This Court is vested with original jurisdiction under 28

U.S.C. Sections 1331 and 1343.

      2.      Venue is proper in this Court, the Northern District of Alabama

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pursuant to 28 U.S.C. §1391 (B) and Local Rules of the United States District Court

for the Northern District of Alabama.

      3.      Plaintiff, D’WANNA WILLIAMS (hereinafter referred to as

“WILLIAMS”) is a resident of the State of Alabama and is a qualified individual

with a disability under the ADA. WILLIAMS suffers from what constitutes a

“qualified disability” under the Americans with Disabilities Act of 1990, (“ADA”)

and all other applicable Federal statutes and regulations to the extent that she suffers

from paraplegia and has had amputation of both of her legs and requires a wheelchair

for mobility.    Prior to instituting the instant action, WILLIAMS visited the

Defendant’s premises at issue in this matter numerous times, and was denied full,

safe and equal access to the subject properties due to their lack of compliance with

the ADA. WILLIAMS continues to desire and intends to visit the Defendant’s

premises but continues to be denied full, safe and equal access due to the barriers to

access that continue to exist.

      4.      The Defendant, DALESSANDRO ENTERPRISES, LLC, is a domestic

limited liability company registered to do business and, in fact, conducting business

in Jefferson County, Alabama. Upon information and belief DALESSANDRO

ENTERPRISES, LLC. (hereinafter referred to as “DALESSANDRO”) is the owner,

lessee and/or operator of the real property and improvements that are the subject of

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this action, specifically: the Fresh Value Supermarket located at 700 19th Street

North, Bessemer, Alabama (hereinafter referred to as the "Store").

      5.      All events giving rise to this lawsuit occurred in the Northern District

of Alabama.

                     COUNT I - VIOLATION OF THE ADA

      6.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101 et seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of Title III of the ADA was January 26, 1992. 42

U.S.C. §12181; 20 C.F.R. §36.508 (A).

      7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Store

owned by DALLESANDRO is a place of public accommodation in that it is a Store

operated by a private entity that provides goods and services to the public.

      8.      Defendant has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe

and equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations at the Store in derogation of 42 U.S.C §12101 et seq.

      9.      The Plaintiff has been unable to and continues to be unable to enjoy

access to, and the benefits of the services offered at the Store owned by

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DALLESANDRO. Prior to the filing of this lawsuit, Plaintiff personally and

regularly visited the Store at issue in this lawsuit and was denied access to the

benefits, accommodations and services of the Defendant’s premises and therefore

suffered an injury in fact as a result of the barriers to access listed in Paragraph 11,

below, that she personally encountered. In addition, Plaintiff continues to desire and

intends to visit the Store, but continues to be injured in that she is unable to and

continues to be discriminated against due to the barriers to access that remain at the

Store in violation of the ADA. WILLIAMS has now and continues to have

reasonable grounds for believing that she has been and will be discriminated against

because of the Defendant’s, deliberate and knowing violations of the ADA.

      10.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA 28 C.F.R. Part 36.

      11.    DALLESANDRO is in violation of 42 U.S.C. §12181 et seq. and 28

C.F.R. §36.302 et seq. and is discriminating against the Plaintiff as a result of inter

alia, the following specific violations that Plaintiff personally encountered:

             i.     There are an insufficient number of accessible parking spaces
                    provided in the parking lots serving the Store;

             ii.    There is one (1) van accessible parking space designated with
                    raised signage; however there are four (4) additional parking

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                    spaces with some indicia of accessibility which lack raised
                    signage and of those, three (3) lack adjacent access aisle
                    necessary for a wheelchair user to exit or enter a vehicle parked
                    in one of these spaces;

             iii.   The majority of parking spaces provided are difficult to discern
                    due to a lack of raised signage and severely faded paint to
                    designate them;

             iv.    There is no checkout aisle designated as accessible;

             v.     All checkout aisles have a point-of-sale credit card machine that
                    is mounted to high for a wheelchair user;

             vi.    The lavatory in the public toilet room has exposed pipes that are
                    insulated as necessary for a wheelchair user;

      12.    There are other current barriers to access and violations of the ADA at

the Store owned and operated by DALLESANDRO that were not specifically

identified herein as the Plaintiff is not required to engage in a futile gesture pursuant

to 28 C.F.R. Part 36, §36.501 and, as such, only once a full inspection is performed

by Plaintiff or Plaintiff’s representatives can all said violations be identified.

      13.    To date, the barriers to access and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions of the ADA.

      14.    Pursuant to the ADA, 42 U.S.C. §12101 et seq. and 28 C.F.R. §36.304,

DALLESANDRO was required to make its Store, a place of public accommodation,


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accessible to persons with disabilities by January 28, 1992.                 To date,

DALLESANDRO has failed to comply with this mandate.

      15.    Plaintiff has been obligated to retain undersigned counsel for the filing

and prosecution of this action. Plaintiff is entitled to have her reasonable attorney’s

fees, costs and expenses paid by Defendant pursuant to 42 U.S.C. §12205.

      16.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant Plaintiff injunctive relief, including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed.

      WHEREFORE, the Plaintiff demands judgment against DALLESANDRO

and requests the following injunctive and declaratory relief:

             A.     That the Court declare that the property owned and
                    administered by Defendant is violative of the ADA;

             B.     That the Court enter an Order directing Defendant to alter
                    its facilities to make them accessible to and useable by
                    individuals with disabilities to the full extent required by
                    Title III of the ADA;

             C.     That the Court enter an Order directing Defendant to
                    evaluate and neutralize its policies and procedures towards
                    persons with disabilities for such reasonable time so as to
                    allow them to undertake and complete corrective
                    procedures;

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           D.    That the Court award reasonable attorney’s fees, costs
                 (including expert fees) and other expenses of suit, to the
                 Plaintiff; and

           E.    That the Court award such other and further relief as it
                 deems necessary, just and proper.

     Dated this 9th day of February, 2022.


                                             Respectfully submitted,

                                             By: /s/ Edward I. Zwilling
                                             Edward I. Zwilling, Esq.
                                             AL State Bar No.: ASB-1564-L54E
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